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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                               x
RICHARD MEJIA, Individually, and On            : Case No.: 1:22-cv-05096
Behalf of All Others Similarly Situated,       :
                                               :
                             Plaintiff,        :
       vs.                                     : NOTICE OF VOLUNTARY DISMISSAL
                                               :
                                               :
                                               :
OSEA INTERNATIONAL, LLC
                                               :
                                               :
                             Defendant.
                                               :
                                               :
                                               x


       Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, plaintiff

Richard Mejia hereby gives notice that the above-captioned action is voluntarily dismissed, with

prejudice against defendant Osea International, LLC

DATED: August 10, 2022                      MIZRAHI KROUB LLP


                                                            /s/ Edward Y. Kroub
                                                           EDWARD Y. KROUB

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